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                                 UNITED STATES DISTRICT COURT
                             IN THE EASTERN DISTRICT OF MICHIGAN

YAACOV APELBAUM, a New York resident,
and XRVISION, LTD., a New York corporation,

                  Plaintiffs,                                                    Case No. 2:23-cv-11718

v.                                                                               Hon. Stephen J. Murphy, III
                                                                                 Hon. Anthony P. Patti

STEFANIE LAMBERT, a Michigan resident, and
THE LAW OFFICE OF STEFANIE L. LAMBERT,
PLLC, a Michigan professional limited liability company
and BILL BACHENBERG, a Pennsylvania resident,

                  Defendants.


BURNS LAW FIRM                                        STUART LAW, PLC
John C. Burns                                         Todd A. Stuart
Attorneys for Plaintiffs                              Attorneys for Plaintiffs
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        PLAINTIFFS’ NOTICE OF COMPLIANCE AND ATTEMPTED COMPLIANCE
     WITH THE COURT’S ORDER OF DECEMBER 12, 2023, AND REQUEST FOR RELIEF

            On December 12, 2023, the Court entered an Order (Dkt. #10) granting Plaintiffs’ Motion

     for Alternate Service and directing Plaintiffs to serve Defendants Stefanie Lambert and The Law

     Office of Stefanie Lambert, PLLC (collectively, the “Lambert Defendants”) by serving1 an adult

     residing at each of the four residences identified by Plaintiffs, and by mailing the service materials2

     to each of the residences along with the office of attorney Michael J. Smith. Id. The Court granted




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  In its Order, the Court directed Plaintiffs to serve copies of the Complaint, summonses, and the Court’s Order granting
alternative service.
2
  See id.



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              6.     Plaintiffs mailed a copy via Federal Express delivery of all the service

                     materials to Attorney Michael J. Smith as directed, and proof of delivery is

                     filed herewith as seen in Exhibit 2.

              7.     Plaintiffs also emailed a copy of the service materials to Attorney Michael J.

                     Smith. See Exhibit 3, attached.

         Currently, Plaintiffs have attempted personal service on the Lambert Defendants at seven

locations and for a total of thirty-nine (39) attempts, and Plaintiffs have submitted proof that the

service materials were delivered by Federal Express to all of the addresses required by the Court.

Beyond this, Plaintiffs also submitted proof they provided Attorney Michael Smith with copies of

the service materials at the electronic mail address which the Court uses to communicate with

Attorney Smith.

         Because copies of the service materials were received by federal express delivery at each

address required by the Court, and because household service was perfected at one of the four

residence locations, Plaintiffs ask the Court for relief – to wit: Plaintiffs ask that the Court accept

their extensive and good faith efforts as sufficient service and deem said efforts to be sufficient

compliance with the Court’s Order of December 12, 2023.


Dated:        January 5, 2024                               Respectfully submitted,
                                                            BURNS LAW FIRM

                                                            /s/ John C. Burns
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                                                          Attorneys for Plaintiffs



                                   CERTIFICATE OF SERVICE

       The undersigned certifies that on January 5, 2024, a true and accurate copy of the foregoing

was electronically filed with the Clerk of the Court using the Court’s CM/ECF system, which will

send notification to all counsel of record.



                                                          /s/ John C. Burns                    •




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